 USCA Case #23-1174               Document #2083700             Filed: 11/05/2024      Page 1 of 1
                       United States Court of Appeals
                                   FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                            ____________
No. 23-1174                                                     September Term, 2024
                                                                           FERC-CP16-454-000
                                                                           FERC-CP16-454-003
                                                                           FERC-CP16-455-000
                                                                           FERC-CP16-455-002
                                                                           FERC-CP20-481-000
                                                             Filed On: November 5, 2024
City of Port Isabel, et al.,

                  Petitioners

         v.

Federal Energy Regulatory Commission,

                  Respondent

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Rio Bravo Pipeline Company, LLC and Rio
Grande LNG, LLC,
                  Intervenors
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Consolidated with 23-1221


         BEFORE:           Srinivasan, Chief Judge; Henderson*, Millett, Pillard, Wilkins,
                           Katsas, Rao, Walker, Childs, Pan, and Garcia, Circuit Judges

                                               ORDER

       Upon consideration of respondent’s unopposed motion for 30-day extension of
time to respond to the petitions for rehearing, it is

      ORDERED that the motion be granted. Any responses are now due by December
9, 2024.

                                              Per Curiam


                                                               FOR THE COURT:
                                                               Mark J. Langer, Clerk

                                                       BY:     /s/
                                                               Daniel J. Reidy
                                                               Deputy Clerk

* Circuit Judge Henderson did not participate in this matter.
